  6:20-md-02977-RJS-CMR Document 349 Filed in ED/OK on 05/16/22 Page 1 of 2



                             UNITED STATES DISTRICT COURT FOR THE
                                EASTERN DISTRICT OF OKLAHOMA

IN RE: BROILER CHICKEN                                                               CHANGE OF ADDRESS
GROWER ANTITRUST LITIGATION
(NO. II)



                      V.                                                     6:20-md-02977-RJS-CMR
                                                                CASE NUMBER: __________________________




 To the Clerk of this court and all parties of record:

        Please note my change of address as counsel in the above styled case for
 _____ plaintiff ____defendant (name of party) Nancy
                                               _______________________________________________.
                                                     Butler, Haff Poultry, Inc., Johnny Upchurch, Jonathan Walters, Melissa Weaver, Myles B. Weaver



                      s/ Kellie Lerner                    May 16, 2022
                      _______________________________________________________
                      Signature                                                                                 Date


                      Kellie Lerner
                      _______________________________________________________
                      Print Name


                      Robins Kaplan LLP
                      _______________________________________________________
                      Firm


                        1325 Avenue of the Americas, Suite 2601
                      _______________________________________________________
                      New Address

                      New York, New York 10019
                      _______________________________________________________
                      City, State, Zip Code

                      212-980-7400
                      _______________________________________________________
                      Telephone

                      212-980-7499
                      _______________________________________________________
                      Facsimile Number


                      Klerner@Robinskaplan.com
                      _______________________________________________________
                      Internet E-mail Address
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                                         Certificate of Service
                                               May 16, 2022
        ____ I hereby certify that on (date) ___________________, I electronically transmitted the

attached document to the Clerk of Court using the ECF System for filing. Based on the records currently on

file, the Clerk of Court will transmit a Notice of Electronic Filing to the following ECF registrants: (insert names)
 All counsel of record.




        _____ I hereby certify that on (date) _________________, I served the attached document by

(service method) __________________________________________________________ on the

following, who are not registered participants of the ECF System: (insert names and addresses)




                                                          /s/ Kellie Lerner
                                                          ________________________________
                                                          s/ Attorney Name
